
PER CURIAM.
Affirmed. See Guzman v. State, 110 So.3d 480 (Fla. 4th DCA 2013). We certify conflict with Thomas v. State, 78 So.3d 644 (Fla. 1st DCA 2011), and certify the following questions to the Florida Supreme Court:
1. DOES GRAHAM V. FLORIDA, 560 U.S. 48, 130 S.Ct. 2011, 176 L.Ed.2d 825 (2010), APPLY TO LENGTHY TERM-OF-YEARS SENTENCES THAT AMOUNT TO DE FACTO LIFE SENTENCES?
2. IF SO, AT WHAT POINT DOES A TERM-OF-YEARS SENTENCE BECOME A DE FACTO LIFE SENTENCE?

Affirmed; conflict certified; questions certified.

WARNER, FORST and KLINGENSMITH, JJ., concur.
